
32 N.Y.2d 839 (1973)
In the Matter of John T. Gallagher, Appellant,
v.
David N. Dinkins et al., Constituting the Board of Elections of the City of New York, and Jack R. Muratori et al., Respondents.
Court of Appeals of the State of New York.
Argued May 23, 1973.
Decided May 23, 1973.
Eugene J. McMahon for appellant.
Robert John Hall for Jack R. Muratori, respondent.
Concur: Chief Judge FULD and Judges BURKE, GABRIELLI, JONES, WACHTLER and SODEN[*].
Order affirmed, without costs; no opinion.
Judge JASEN concurs in the following memorandum: I agree to affirm upon the sole ground that respondent was in fact a resident of the address set forth in the designating petitions.
NOTES
[*]  Designated pursuant to section 2 of article VI of the State Constitution in place of BREITEL, J.

